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                         IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

  UNITED STATES OF AMERICA,                         §
                                                    §
                                                    § CASE NUMBER 6:19-CR-00001-JDK
  v.                                                §
                                                    §
                                                    §
  BRANDON KIONE WILLIAMS (1),                       §
                                                    §

              FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                   BEFORE THE UNITED STATES MAGISTRATE JUDGE
                            PURSUANT TO RULE 11(c)(1)(C)

         Pursuant to 28 U.S.C. ' 636(b), this matter has been referred by the District Court for

  administration of a plea of guilty under Rule 11 of the Federal Rules of Criminal Procedure.

         On September 21, 2020, this cause came before the undersigned United States Magistrate

  Judge for a plea of guilty to an Third Superseding Indictment charging the defendant in Count One

  with a violation of Title 21 U.S.C. § 846 - Conspiracy to Possess with Intent to Manufacture and

  Distribute (Methamphetamine, Cocaine, Heroin, Crack Cocaine, Marijuana) and 18 U.S.C. § 2 –

  Aiding and Abetting. After conducting said proceeding in the form and manner prescribed by

  Federal Rules of Criminal Procedure Rule 11, the undersigned finds that:

         a.      the Defendant, after consultation with counsel of record, has knowingly and

  voluntarily consented to the administration of the Guilty Plea in this cause by a United States

  Magistrate Judge, subject to a final acceptance and imposition of sentence by the District Judge;

         b.      the Defendant and the government have entered into a plea agreement which has

  been filed and disclosed in open court pursuant to Federal Rules of Criminal Procedure Rule

  11(c)(2);

         c.      the Defendant is fully competent and capable of entering an informed plea, that the
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  defendant is aware of the nature of the charges, the maximum penalties, and the consequences of

  the plea, and that the plea of guilty is a knowing and voluntary plea supported by an independent

  basis in fact containing each of the essential elements of the offense; and

         d.      the Defendant understands each of the constitutional and statutory rights

  enumerated in Rule 11(b)and wishes to waive these rights, including the right to a trial by jury.

         IT IS THEREFORE RECOMMENDED that the District Court accept the Plea Agreement

  and the Guilty Plea of the Defendant and that BRANDON KIONE WILLIAMS (1) should be

  adjudged guilty of that offense, reserving to the District Judge the option of rejecting the Plea

  Agreement pursuant to Rule 11(c)(5) if, after review of the presentence report, the agreed sentence

  is determined not to be the appropriate disposition of the case.

         Defendant has waived his right to object to the findings of the Magistrate Judge in this

  matter so the Court will present this Report and Recommendation to District Judge Jeremy D.

  Kernodle for adoption immediately upon issuance.




        So ORDERED and SIGNED this 21st day of September, 2020.
